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 DISTRICT COURT, BOULDER COUNTY,
 STATE OF COLORADO
 1777 Sixth St.                                         DATE FILED: February 28, 2018 2:31 PM
 P.O. Box 4249                                          FILING ID: 5C921A2139D2E
 Boulder, Colorado 80302                                CASE NUMBER: 2018CV30191
 Telephone: (303) 441-3750

 Plaintiff: PAULA ORANSKY

 v.
                                                            ▲     COURT USE ONLY ▲
 Defendants: USAA CASUALTY INSURANCE
 COMPANY, a Texas corporation.

 Christopher W. Jeffress                               Case No.    Div.
 JEFFRESS LAW, PC
 1790 38th Street, Suite 300
 Boulder, CO 80301
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 Atty. Reg. 25399
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                            COMPLAINT AND JURY DEMAND


     Plaintiff Paula Oransky, through counsel, submits the following Complaint and Jury
Demand:

                                 FACTUAL BACKGROUND

       1.    On or about March 24, 2016, Plaintiff Paula Oransky was driving a motor vehicle
on westbound Isabelle Road near its intersection with Colorado Highway 287 in Boulder County,
Colorado.

       2.     At or near that time and place, Plaintiff stopped her vehicle behind another
vehicle on westbound Isabelle Road at its intersection with Colorado Highway 287 in Boulder
County, Colorado.

        3.      At that time and place, Justin Fish was driving westbound on Isabelle Road at its
intersection with Colorado Highway 287 in Boulder County, Colorado, directly behind the
Plaintiff’s vehicle.

        4.      At that time and place, Mr. Fish rear-ended Plaintiff’s vehicle, causing it to
collide with the vehicle in front of it.

       5.     At the time of the above-alleged motor vehicle collision, Mr. Fish had automobile



                                                                                    Exhibit 1
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liability insurance with Allstate in the amount of $100,000.

      6.     At all times material hereto, Plaintiff was insured for underinsured motorist
(“UIM”) benefits with USAA Casualty Insurance Company (“USAA”).

      7.     At all times material hereto, Plaintiff had UIM coverage with USAA in the
amount of $100,000 pursuant to policy 012340062C71044. Plaintiff’s claim number is
012340062-5.

        8.      At all times material hereto, Plaintiff had Medical Payments (“Medpay”)
coverage with USAA in the amount of $100,000 pursuant to policy 012340062C71044.
Plaintiff’s claim number is 012340062-5.

         9.    Plaintiff provided USAA with timely notice of her UIM and Medpay claims.

         10.   Plaintiff kept USAA reasonably advised.

         11.   Plaintiff cooperated with USAA.

       12.      On or about May 24, 2017, Allstate, as Justin Fish’s automobile insurance carrier,
offered to resolve Plaintiff’s claims against Mr. Fish for its $100,000 insurance policy limits.

       13.     On or about June 4, 2017, USAA provided Plaintiff with consent to settle her
claims against Justin Fish.

       14.     On or about June 16, 2017, Plaintiff signed a Release resolving her claims against
Mr. Fish.

       15.   On or about July 13, 2017, Plaintiff sent USAA a Request for Evaluation of her
UIM claim, which included a packet of her medical records, wage loss documentation, and other
materials.

         16.   On or about August 25, 2017, USAA offered Plaintiff $5,000 to resolve her UIM
claim.

       17.     On or about September 12, 2017, in response to questions USAA raised Plaintiff’s
representatives provided responses to USAA’s questions.

      18.      On or about November 30, 2017, USAA offered Plaintiff $10,000 to resolve her
UIM claim.

         19.   Thereafter, USAA offered to reevaluate Plaintiff’s UIM claim.

         20.   On December 29, 2017, USAA offered Plaintiff $20,000 to resolve her UIM
claim.



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         21.    When Plaintiff declined USAA’s offer, it requested that Plaintiff refrain from
filing a lawsuit while it again reevaluated Plaintiff’s claims.

       22.      On February 21, 2018, USAA’s claim representative informed Plaintiff’s
representative that USAA was not willing to pay benefits to Plaintiff in excess of $20,000.

        23.     As part of its evaluation of Plaintiff’s UIM claim, USAA refused to interview
Plaintiff or take her statement under oath.

        24.     As part of its evaluation of Plaintiff’s UIM claim, USAA refused to interview
Plaintiff’s health care providers.

        25.    On several occasions, Plaintiff’s health care providers – including without
limitation Boulder Brain Recovery (n/k/a Colorado Brain Recovery), Rock Creek Spine and
Rehabilitation (“Rock Creek Spine”), and Marilyn Coonelly, Ph.D. (“Dr. Coonelly”) – provided
USAA with their records of treatment and bills for services rendered.

       26.    On Plaintiff’s behalf, Boulder Brain Recovery, Rock Creek Spine, and Dr.
Coonelly provided Plaintiff with medical treatment that was reasonable, necessary, and related to
the March 24, 2016 automobile collision.

       27.    USAA refused to pay in full the bills of, inter alia, Boulder Brain Recovery, Rock
Creek Spine and Rehabilitation, and Marilyn Coonelly, Ph.D. for services rendered.

       28.    As a result of USAA’s failure to pay Boulder Brain Recovery, Rock Creek Spine,
and Dr. Coonelly’s bills, Plaintiff paid these healthcare provider’s remaining balances that, at a
minimum, are in the amount of:

               a.     Boulder Brain Recovery:       $ 617.28

               b.     Rock Creek Spine:             $3,709.89

               c.     Dr. Coonelly:                 $1,200.00

                      Total                         $5,527.17

       29.     USAA owes both UIM and Medpay benefits to the Plaintiff.

       30.   Without proper investigation or documentation, USAA has failed, or refuses, to
pay, UIM and Medpay benefits to Plaintiff.

       31.     USAA has failed, or refuses, to honor its insurance policy.

       32.    USAA has breached its contract with Plaintiff causing her to sustain injuries,
damage and loss including, but not limited to, the benefits as provided by the insurance contract
and by C.R.S. § 10-4-609 and its subparts.


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         33.     C.R.S. § 10-3-1113(4) states that willful conduct as set out in C.R.S. §§ 10-3-
1104(1)(h)(I) to (1)(h)(XV) is prohibited by insurance companies and may be considered by a
jury if a denial was caused by such a prohibited conduct.

       34.    USAA has violated C.R.S. § 10-3-1115 and C.R.S. § 10-3-1116.

                                FIRST CLAIM FOR RELIEF
                                (Underinsured Motorist Claim)

       35.    Plaintiff incorporates all previous allegations.

        36.     Allstate, as Justin Fish’s insurer, paid its $100,000 policy limits to resolve
Plaintiff’s claim against Mr. Fish.

      37.    At all times material hereto, Plaintiff had UM/UIM coverage with USAA in the
amount of $100,000.

       38.    Plaintiff’s notice to USAA of her potential UM/UIM claim was timely.

       39.    Plaintiff is entitled to payment of UIM benefits for the damages described herein.

                              SECOND CLAIM FOR RELIEF
                             (C.R.S. §§ 10-3-1115 and 10-3-1116)

       40.    Plaintiff incorporates all previous allegations.

        41.   Pursuant to C.R.S. § 10-3-1115, USAA is prohibited from unreasonably delaying
or denying payment to Plaintiff of UIM and Medpay benefits due her as a result of the subject
collision.

      42.    USAA has violated C.R.S. § 10-3-1115 by unreasonably delaying and denying
payment of UIM and Medpay benefits to Plaintiff.

        43.    USAA does not have a reasonable basis for refusing to pay UIM and Medpay
benefits and/or delaying evaluation of these claims under the facts and circumstances of this
case.

                                THIRD CLAIM FOR RELIEF
                                       (Bad Faith)

       44.    Plaintiff incorporates all previous allegations.

     45.     USAA has a duty to deal in good faith with the Plaintiff regarding her UIM and
Medpay claims.



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       46.   The March 24, 2016 motor vehicle collision was a cause of Plaintiff’s significant
and permanent injuries and resulting medical treatment and expenses.

        47.     USAA’s denials of UIM and Medpay benefits are unreasonable, in bad faith, and
in violation of C.R.S. § 10-3-1113(4), C.R.S. § 10-3-1104 and its subparts, and other statutes and
laws of the State of Colorado.

       48.     USAA knows or recklessly disregarded that its denials were unreasonable.

         49.     C.R.S. § 10-3-1113(4) states willful conduct as set out in C.R.S. §§ 10-3-
1104(1)(h)(I) to (1)(h)(XV) is prohibited by insurance companies and may be considered by a
jury if a denial was caused by such a prohibited conduct.

        50.    C.R.S. § 10-3-1104(1)(h)(VI) prohibits USAA from not attempting in good faith
to effectuate prompt, fair, and equitable settlements of claims in which liability has become
reasonable and clear.

       51.      Liability is reasonably clear in this case, and USAA has failed to effectuate in
good faith a fair and equitable resolution.

       52.      C.R.S. § 10-3-1104(1)(h)(VII) states it is an unfair claim practice to compel
“insureds to institute litigation to recover amounts due under an insurance policy by offering
substantially less than the amounts ultimately recovered in actions brought by insureds.”

     53.     USAA has compelled Plaintiff to institute litigation by refusing to pay UIM and
Medpay benefits.

        54.      Plaintiff has sustained emotional distress due to USAA’s unreasonable conduct
resulting in litigation.

                                           DAMAGES

        55.     As a proximate result of the negligence of the Mr. Fish, Plaintiff sustained
traumatic injuries to her body, including without limitation injuries to her face, head, brain,
spine, and hip.

       56.     As a proximate result of the conduct of the Mr. Fish, Plaintiff sustained
permanent injuries; endured pain and suffering; lost enjoyment of life; sustained expenses for the
services of health-care providers and medical supplies; lost income; lost time; sustained a
physical impairment; and had other losses, all past and future, all to her detriment as a result of
the conduct of the Mr. Fish.

         57.     As a direct and proximate result of her injuries, Plaintiff has been and will be
prevented from engaging in certain economic, social, and recreational activities normal to her
lifestyle prior to this motor vehicle crash.



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        58.    Plaintiff is entitled to payment of the underinsured motorist and Medpay benefits,
statutory benefits and remedies, and compensatory damages for the damages described herein.

      59.    Pursuant to C.R.S. § 10-3-1116, Plaintiff is entitled to double the covered UIM
and Medpay benefits and, in addition, reasonable attorneys’ fees.

       60.     Plaintiff’s date of birth is December 18, 1978. She was 38 years old at the time of
the collision. She had a minimum life expectancy, pursuant to the U.S. Life Tables, of an
additional 43.9 years, and is entitled to compensation for her injuries, damages and losses for the
remainder of her life.

                        PLAINTIFF DEMANDS TRIAL TO A JURY

        WHEREFORE, Plaintiff requests a judgment be entered in favor of Plaintiff and against
Defendant USAA, in an amount to fairly and reasonably compensate Plaintiff for her injuries,
damages and losses as set forth above; for court costs; for expert witness fees; for statutory
interest from the date this cause of action accrued or is otherwise permitted under Colorado law;
for statutory benefits, double damages, attorneys’ fees, and other statutory remedies available
under Colorado law; and for such other and further relief as to this Court may seem just and
proper.


Respectfully submitted this 28th day of February 2018.



                                                     JEFFRESS LAW, PC


                                             By:     Signature of Christopher W. Jeffress is on file
                                                     at the offices of Jeffress Law, PC

                                                     Christopher W. Jeffress


Plaintiff’s Address:
920 Sumner Way
Erie CO 80516




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